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 4
                        UNITED STATES DISTRICT COURT FOR THE
 5                        WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 6
 7
      UNITED STATES OF AMERICA,                         NO.         MJ20-469
 8
                            Plaintiff,
 9
10                                                      COMPLAINT FOR VIOLATION OF
                       v.                               18 U.S.C. §§ 922(g)(1)
11
      AL M. TALAGA,
12
                            Defendant.
13
14
15 BEFORE The Honorable United States Magistrate Judge Brian A. Tsuchida, United
16 States Courthouse, Seattle, Washington.
17                                        COUNT ONE

18                              (Felon in Possession of a Firearm)

19         On or about June 1, 2020, in the city of Seattle, within the Western District of
20 Washington, the defendant, AL M. TALAGA, knowing that he had been convicted of the
21 following crime that under federal law prohibits him from possessing firearms or
22 ammunition, to wit, Robbery in the Second Degree, in cause number 05-C-09559-4, in
23 the Superior Court of King County, on or about September 26, 2005, did knowingly
24 possess, in and affecting interstate and foreign commerce, a firearm, to wit, a Glock
25 Model 22 .40 caliber semi-automatic pistol, bearing serial number BCKX120.
26         All in violation of Title 18, United States Code, Sections 922(g)(1).
27         The undersigned complainant, being duly sworn, hereby deposes and says as
28 follows:
     COMPLAINT / TALAGA                                                  UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     USAO 2020R00649
                                                                          SEATTLE, WASHINGTON 98101
                                                                                (206) 553-7970
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 1                                 AFFIANT BACKGROUND
 2         1.      I am a Special Agent with the United States Department of Justice (DOJ),
 3 Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), and have been so
 4 employed since March 8, 2018. I am currently assigned to the Seattle Field Division in
 5 Tacoma, Washington, where I am assigned to the Tacoma Field Office. In this capacity,
 6 I enforce federal criminal laws relating to the unlawful possession, use of and trafficking
 7 of firearms. I also investigate individuals who illegally use firearms to commit violent
 8 crimes. I am an “investigative or law enforcement officer of the United States” within
 9 the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the
10 United States who is empowered by law to conduct investigations of, and to make arrests
11 for offenses enumerated in Title 18, United states Code, Section 2516.
12         2.      I received formal training at the Federal Law Enforcement Training Center
13 (FLETC) in Glynco, Georgia. I successfully completed the Criminal Investigators
14 Training Program (CITP), which familiarized me with basic narcotic investigations, drug
15 identification, drug detection, familiarization with United States narcotics laws, financial
16 investigations, money laundering, identification and seizure of drug-related assets,
17 organized crime investigations, physical and electronic surveillance and undercover
18 operations. In addition, I successfully completed a fourteen-week, ATF Special Agent
19 Basic Training (SABT) course in Glynco, Georgia. SABT included comprehensive,
20 formalized instruction in, amongst other things: firearms identification, firearms
21 trafficking, arson investigations, explosives identification and investigation along with
22 alcohol and tobacco diversion. I have a Bachelor of Science Degree in Criminal Justice
23 from Winona State University in Winona, Minnesota.
24         3.      As noted above, I am responsible for investigations involving specified
25 unlawful activities, to include violent crimes involving firearms that occur in the Western
26 District of Washington. I am also responsible for enforcing federal firearms and
27 explosives laws and related statutes in the Western District of Washington. I received
28 training on the proper investigative techniques for these violations, including the
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 1 identification of firearms and the location of the firearms’ manufacture. I have actively
 2 participated in investigations of criminal activity, including but not limited to: crimes
 3 against persons, crimes against property, narcotics-related crimes, and crimes involving
 4 the possession and use, theft, or transfer of firearms. During these investigations, I have
 5 also participated in the execution of search warrants and the seizure of evidence
 6 indicating the commission of criminal violations.
 7         4.      The information in this complaint is based on my investigation, along with
 8 investigation by other law enforcement officers, conversations with law enforcement
 9 officers, and review of law enforcement documents. It also does not purport to state
10 every fact known to law enforcement, but rather only to establish probable cause to
11 conclude that AL M. TALAGA committed the charges set forth above.
12                           SUMMARY OF PROBABLE CAUSE
13         5.      On June 1, 2020, at approximately 6:44 p.m, several Seattle Police
14 Department (SPD) officers responded to a report of a burglary in progress at the Sneaker
15 City store, located at 110 Pike Street in Seattle, Washington. Sneaker City is an
16 independently owned store featuring shoes and other footwear. The store has been closed
17 to the public since March, with boarded up windows and entrances, due to the COVID-19
18 epidemic.
19         6.      As investigating officers arrived at the scene, they observed several
20 individuals exiting the store through a broken alley window from which the exterior
21 wood cover had been removed. SPD officers attempted to detain these individuals, but
22 several of them ran away when ordered by officers to stop. In addition, as the SPD
23 officers were arriving at the scene, a vehicle that had been parked nearby fled the scene
24 by driving down the sidewalk in the 100 block of Pike Street, nearby hitting an officer
25 and two suspects he was attempting to detain.
26         7.      While on scene, investigating officers spoke to J.C., who stated that he had
27 observed between ten and fifteen people entering Sneaker City and three to four vehicles
28 parked near the business. J.C. stated that as the police started to arrive, most cars and
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 1 suspects left. Officers also spoke with witness J.F., who stated that he lived in the
 2 building across the street from a parking lot located at 1512 First Avenue, just up the
 3 alley the Sneaker City business. J.F. further stated that he had observed a large group of
 4 individuals and vehicles in the parking lot, and found this suspicious, so he began to
 5 record the group on his phone. J.F. said that he had observed several individuals placing
 6 merchandise into the parked vehicles and then walking south in the alley, back towards
 7 Sneaker City. J.F. stated that when police sirens grew louder, the individuals fled the
 8 parking lot on foot, in several different directions. J.F. said that most of the vehicles also
 9 left the lot upon hearing the approaching sirens, with the exception of a dark colored
10 Dodge Magnum, bearing Washington license plate AHG3684. J.F. said he had seen
11 individuals bring several loads of stolen property from the Sneaker City and load that
12 property into the Dodge Magnum. Law enforcement subsequently ran a search of the
13 vehicle and learned that it was registered to Al TALAGA, with an address in Auburn,
14 Washington.
15         8.      The Dodge Magnum had very dark tinted windows, and officers did not
16 know whether any of ten to fifteen people who had been observed going into Sneaker
17 City were inside the parked vehicle. SPD Officer Brewer conducted a safety sweep of
18 the vehicle to ensure no one was hiding inside the vehicle. SPD Officer Brewer carefully
19 opened one of the unlocked vehicle doors, and did a quick visual security check of the
20 inside of the Dodge Magnum, looking for possible suspects. During this visual check for
21 suspects, Officer Brewer saw several items of what appeared to be new merchandise of
22 the type that one would find in a shoe store, including socks and shoes, as well as a black
23 handgun in the driver’s side door panel. Seeing no suspects inside the Dodge Magnum,
24 Officer Brewer then closed the door and secured the vehicle at the scene. In light of
25 J.F.’s statements that he had observed suspects load items from the Sneaker City store
26 into the Dodge Magnum, as well as Officer Brewer’s observation of what appeared to be
27 stolen merchandise inside the vehicle, investigating officers seized the Dodge Magnum
28
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 1 and towed it to the secure SPD Vehicle Processing Room with the intention of applying
 2 for a search warrant to recover any stolen and/or illegal items from the vehicle.
 3         9.      SPD Detective Poblocki used a law enforcement database to obtain a phone
 4 number associated with the registered owner, AL TALAGA. Just before midnight on
 5 June 2, 2020, Detective Poblocki called this number and spoke with a male who
 6 identified himself as Al TALAGA. TALAGA initially stated that his Dodge Magnum
 7 had been stolen last night, sometime after noon, in Kent, Washington. TALAGA then
 8 continued to talk to Detective Poblocki. During the course of this conversation,
 9 TALAGA eventually admitted that his car had not really been stolen, and that he was in
10 the area of First and Pike Street in Seattle on June 1, 2020.
11         10.     When Detective Poblocki asked if there were any weapons or valuables
12 inside the Dodge Magnum, TALAGA advised that a Glock 22 pistol was stored inside
13 the glove compartment. TALAGA stated the firearm belonged to his girlfriend, K.B.
14 TALAGA admitted that he is not legally able to possess firearms. (NOTE: TALAGA has
15 prior felony convictions, including a 2005 conviction for Robbery in the Second Degree,
16 in cause number 05-C-09559-4, in the Superior Court of King County.) TALAGA told
17 Detective Poblocki that his fingerprints and DNA would likely be on the firearm located
18 inside the Dodge Magnum, because he had moved it from the glove box to another
19 compartment in the car.
20         11.     TALAGA further admitted that he had broken through the window at
21 Sneaker City, gone inside, and stolen several items from inside the store. TALAGA told
22 Detective Poblocki that there would be “a lot” of Sneaker City merchandise inside the
23 Dodge Magnum. TALAGA stated that his girlfriend was not present during the burglary
24 of Sneaker City. TALAGA told Detective Poblocki that the reason he had burgled
25 Sneaker City was because the police had killed his friend. TALAGA said “that’s why
26 I’m taking out my anger like that.” He further stated that “it’s going to make me happy
27 because I know that my tax dollar that I’m paying, I’m taking it right back.”
28
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 1          12.    On June 4, 2020, at approximately 4:15 p.m., Detective Poblocki obtained
 2 and served a search warrant on the Dodge Magnum, bearing Washington license plate
 3 AHG3684, which was in the Seattle Police Department’s secure evidence / seizure
 4 storage area. During the search of TALAGA’s vehicle, officers recovered a loaded Glock
 5 Model 22 .40 caliber pistol, bearing serial number BCKX120, from the driver’s side door
 6 panel. Officers also located a FNP Model 40 .40 caliber pistol, bearing SN
 7 61CMR09373, underneath the floor mat, on the front passenger side. The FNP pistol was
 8 loaded with eleven rounds of ammunition, including a round in the firing chamber. A
 9 law enforcement database check verified that the FNP Model 40 pistol had been reported
10 as being stolen in 2019 from a residence in Tacoma during a home invasion robbery.
11          13.    During the search of Dodge Magnum law enforcement also located a black
12 bag in the back seat that contained seven new pairs of Air Jordan shoes (three infant-
13 sized pairs, three child-sized pairs, and one adult size) in original packaging; two new
14 ball caps (Mariners and Blue Jays); six individually packaged pairs of “Seattle” socks
15 with the image of Seattle downtown skyline; two packs of Nike socks, and a pair of black
16 Adidas shoes. The aforementioned property appeared to be the type sold in the Sneaker
17 City business. An employee of Sneaker City later confirmed the above-delineated
18 apparel items had been from Sneaker City. Law enforcement also located a new cell
19 phone, still in its box, inside the black bag.
20          14.    During the search of Dodge Magnum, law enforcement also located three
21 prescription bottles of Adderall. Each bottle contained approximately 20 pills and had
22 different strengths (10, 20, and 30 mg.). Law enforcement did not observe labels or
23 names; however, the bottles had handwritten numbers on them, consistent with
24 maintaining an inventory. Two of the bottles were located in the driver’s door panel
25 (same location as Glock Model 22 pistol), and one bottle was in the passenger side door
26 panel.
27          15.    I have reviewed records from King County Superior Court, and am
28 therefore aware that TALAGA has been convicted of the following felony: Robbery in
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 1 the Second Degree, in cause number 05-C-09559-4, in the Superior Court of King
 2 County, on or about September 26, 2005. As a result of this conviction, TALAGA is
 3 prohibited from possessing firearms.
 4          16.    ATF Special Agent Jon Hansen, an agent who is an expert at conducting
 5 interstate nexus reviews, has determined that the firearm referenced in Count One, the
 6 Glock Model 22 .40 caliber pistol, bearing serial number BCKX120, was manufactured
 7 outside of the State of Washington, and therefore had traveled in interstate and/or foreign
 8 commerce.
 9                                          CONCLUSION
10          Based upon the foregoing and my training and experience, I respectfully submit
11 there is probable cause to believe that AL M. TAGALA committed the offenses set forth
12 above in this Complaint.
13
14
15
                                                 NATALIA VOROTNIKOVA
16                                               Special Agent, ATF
17
18
19
20          The above-named agent provided a sworn statement attesting to the truth of the
     contents of the foregoing affidavit, and based on the Complaint and Affidavit, the Court
21
     hereby finds that there is probable cause to believe that the Defendant committed the
22
     offenses set forth in the Complaint.
23
            Dated this 28th day of July, 2020.
24
25                                               BRIAN A. TSUCHIDA
                                                 Chief United States Magistrate Judge
26
27
28
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